  
 

Phu SJB, EC No. 1-5, Puan ID.: 23 Filed 03/06/51 Page 1
Faikeot FAanY VIREV AROS .
ahanTe Pass. ©

       
    
     

 

 

 
   
 

 

   

te _° e ‘ ,
SH ;
>
SAGINA |
MI 486 0-03
UPS GROUND
TRACKING #: 1Z 107 F1R AB 5038 4665 }
oe eee PrP
ADULT SIGNATURE REQUIRED — MIN 21 ’ -
| . >”,
. ; . |
WE 10.0.04 Tebre EP eS eNOA CeTEIE ’ A Sai

ICN - Discovery: 18/APR/2018
4860-W094-9497

MMMM WILL CALL 25/APR/2018

       
     
